

Bey v Rosado (2021 NY Slip Op 01840)





Bey v Rosado


2021 NY Slip Op 01840


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Renwick, J.P., Mazzarelli, Singh, González, JJ. 


Index No. 151567/19 Appeal No. 13419 Case No. 2020-04448 

[*1]Malik J. Bey, Plaintiff-Respondent,
vJoel L. Rosado et al., Defendants-Appellants.


Gallo, Vitucci &amp; Klar LLP, New York (Yolanda L. Ayala of counsel), for appellants.
Liakas Law, P.C., New York (Joshua Versoza of counsel), for respondent.



Order, Supreme Court, New York County (Adam Silvera, J.), entered on or about May 6, 2020, which granted plaintiff's motion for partial summary judgment on the issue of liability, unanimously reversed, on the law, without costs, and summary judgment denied with leave to renew following plaintiff's deposition and other discovery.
Plaintiff alleges that after crossing Pearl Street at the intersection with Whitehall Street he was struck from behind by defendants' box truck, while he was on the curb/lip of the sidewalk. According to the affidavit of the driver, defendant Rosado, plaintiff was distracted by talking on a cell phone, and walked into the side of the truck while it was already making a right turn.
While plaintiff was not required to demonstrate the absence of comparative negligence on his part, his motion was premature in that defendants did not have the opportunity to depose him (see Figueroa v City of New York, 126 AD3d 438, 439 [1st Dept 2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








